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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re                                          §         CHAPTER 11
                                               §
ATP OIL & GAS CORPORATION,                     §         CASE NO. 12-36187
                                               §
        Debtor.                                §         HON. MARVIN ISGUR
                                               §
                                               §
OMEGA NATCHIQ, INC.,                           §
                                               §
        Plaintiff,                             §
                                               §
vs.                                            §         ADV. PROC. NO. 14-03301
                                               §
ATP INFRASTRUCTURE                             §
PARTNERS, L.P.                                 §
                                               §
        Defendant.                             §

                      ORDER GRANTING ATP INFRASTRUCTURE
                       PARTNERS, L.P.’S MOTION TO DISMISS

        Having considered the Motion to Dismiss [Dkt. No. 5] filed by Defendant ATP

Infrastructure Partners, L.P., this Court is of the opinion that the Motion should be GRANTED

        Accordingly, Plaintiffs’ Original Complaint [Dkt. No. 1] is DISMISSED in its entirety,

with Plaintiff’s claim for a judgment ordering that the Innovator be seized and sold DISMISSED

WITH PREJUDICE.


        SIGNED this _____ day of ____________________, 20_____.



                                                ____________________________________
                                           THE HONORABLE MARVIN ISGUR
                                           UNITED STATES BANKRUPTCY JUDGE




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